 

 

Case 4:07-mj-00740-DE Document1 Filed 01/22/07 Page 1 of 2

AO 91 (Rev. 8/01) Criminal Complaint

UNITED STATES DISTRICT | .
COURT FILED
Western DISTRICT OF TexasJAN 2 @ 200

 

 

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UNITED STATES OF AMERICA CRIMINAL GQ) Ne
we i,
John Anthony RAZO .
Case Number: O74, Ho
(Name and Address of Defendant)

I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief On or about January 21, 2007 in Presidio County, in

 

the Western District of Texas defendant(s) did,

 

 

(Track Statutory Language of Offense)
knowingly possessed or caused to be present a firearm, to wit a Llama Maxima .45 caliber pistol with one round of
ammunition in the chamber, or other dangerous weapon in a Federal facility.

 

 

 
 

 

 

in violation of Title 18 United States Code, Section(s) 930 (a)
I further state that I am a(n) U.S. ICE Special Agent and that this complaint is based on the
Official Title
following facts:
See Attachment
Continued on the attached sheet and made a part of this complaint: Yes Nx | No [|
jan eee
Signature ofCornplainant &
George Dreyer
Printed Narne of Complainant

Sworn to before me and signed in my presence,

January 22, 2007 at Alpine, Texas

 

 

Date City/Ahd Btate
Durwood Edwards, U.S. Magistrate 4h Aden.

 

Name and Title of Judicial Officer Signattreof4udicial Officer “
 

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ATTACHMENT

On January 21, 2007 at approximately 0400 hours, a Silver Chevrolet Impala with
Texas plates 304KJS attempted to enter the United States through the Presidio, Texas
Port of Entry. At the U.S. Customs and Border Protection Primary booth, John RAZO
was identified as driver and sole occupant of the vehicle. Customs and Border Protection
Officers (CBPO) took a negative declaration from RAZO and RAZO was sent to
secondary for a closer inspection of the vehicle.

At secondary, CBP Officers took another negative declaration from RAZO. CBP
Officers escorted RAZO into the Customs lobby where a CBP Officer noticed RAZO had
a knife clipped to his pants pocket. The CBP Officer took custody of the knife and asked
RAZO if he had any other weapons on his person and RAZO stated no.

CBP Officers escorted RAZO into the holding cell and explained to him that he
was going to be patted down for weapons. RAZO then stated he had a pistol on his back.
CBP Officers removed a LLAMA MINIMA semiautomatic .45 caliber pistol from the
back of RAZO’s pants. The pistol was found to have one round of .45 caliber
ammunition in the chamber but did not have the magazine.

RAZO informed CBP Officers that the magazine was in the center console of the
vehicle and it contained several rounds of ammunition. CBP Officers located the
magazine which was found to contain 5 additional rounds and one loose round of .45
caliber ammunition.

ICE Agents were contacted and responded.

ICE Agents advised RAZO of his rights and asked him if he would like to make a
statement without the presence of an attorney. RAZO agreed to speak with Agents.

During the course of the interview, RAZO stated he had traveled to Ojinaga,
Mexico to visit a female friend and while he was crossing the bridge into Mexico, he
realized he had his pistol with him, RAZO claimed he placed the gun in his pants in the
small of his back. RAZO then continued his trip into Mexico and returned approximately
one hour later. As RAZO approached the Presidio, Texas Port of Entry, RAZO again had
the pistol in the small of his back. RAZO gave CBP Officers several negative
declarations before being escorted into the Customs building. RAZO stated he did not
inform Officers of the pistol until he was escorted into the cell and told he was going to
be patted down. RAZO stated he knew it was illegal to have the weapon and he didn’t
want to get caught with it.

AUSA Dwight Goains was advised of the above facts and authorized prosecution
of RAZO.
